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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


  In re                                                Chapter 11

               TS EMPLOYMENT, INC.,                    Case No. 15-10243 (MG)

                          Debtor.


  In re                                                Chapter 11

               CORPORATE RESOURCE SERVICES,            Case No. 15-12329 (MG)
               INC., et al.,
                                                       (Jointly Administered)
                          Debtors.


                        DECLARATION OF VINCENT E. LAZAR IN
                   SUPPORT OF CHAPTER 11 TRUSTEE’S APPLICATION
                       FOR AN ORDER AUTHORIZING THE NUNC
                     PRO TUNC EMPLOYMENT AND RETENTION OF
                JENNER & BLOCK LLP AS SPECIAL LITIGATION COUNSEL

I, Vincent E. Lazar, declare the following under penalty of perjury:

          1.      I am a partner of Jenner & Block LLP (“Jenner”), a law firm with offices in

Chicago, Illinois; Los Angeles, California; New York, New York; Washington, D.C.; and

London, England. I am currently resident in Jenner’s Chicago office. I am a member in

good standing of the Bar of the States of New York and Illinois, and I am duly authorized

to make this Declaration on behalf of Jenner.

          2.      I am authorized to submit this Declaration to provide the disclosures

required under Rule 2014(a) of the Federal Rules of Bankruptcy Procedure and Rule 2014-

1 of the Local Rules of the Bankruptcy Court for the Southern District of New York in
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connection with the joint Application, dated January 20, 2017 (the “Application”)1 of

James S. Feltman, not individually but solely in his capacity as chapter 11 trustee (the

“Trustee”) of both (i) TS Employment, Inc. (“TSE”), and (ii) Corporate Resource Services,

Inc. (“CRS”), and CRS’s subsidiaries Accountabilities, Inc., Corporate Resource

Development Inc., Diamond Staffing Services, Inc., Insurance Overload Services, Inc.,

Integrated Consulting Services, Inc., The CRS Group, Inc. and TS Staffing Services, Inc.

(together with CRS, the “CRS Debtors” and, collectively with TSE, the “Debtors”) for

entry of an order approving the Trustee’s retention of Jenner as special litigation counsel

(“Special Litigation Counsel”) in each of the above-captioned chapter 11 cases on the

terms and conditions set forth in the Application and herein and in compliance with

sections 327, 328, and 330 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532.

              3.             Unless otherwise stated in this Declaration, I have personal knowledge of

the facts set forth herein. To the extent any information disclosed herein requires

amendment or modification upon Jenner’s completion of further review or as additional

information becomes available to it, a supplemental declaration will be submitted to the

Court reflecting such amended or modified information.

                                                                   Qualifications

              4.             As set forth in the Application, Jenner is well qualified to represent the

Trustee in the Debtors’ Chapter 11 cases. Jenner has extensive experience representing

bankruptcy trustees in complex bankruptcy investigation and litigation matters, and


                                                            
1      Capitalized terms not otherwise defined herein shall take the meanings ascribed to them in the
Application.

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regularly represents bankruptcy trustees in high-profile and cutting-edge adversary

proceedings and related appeals.

                               Scope of Jenner’s Retention

       5.     The Trustee and Jenner have agreed that Jenner will advise and represent

the Trustee in connection with, and the scope of Jenner’s engagement and duties shall

relate solely to, the investigation, evaluation and prosecution of claims against the

Debtors’ respective insiders, affiliates, lenders, and professionals, and such additional

persons as may be identified during the course of Jenner’s investigation (“Special

Litigation Matters”).

       6.     No other law firm has been retained to investigate and prosecute the Special

Litigation Matters. The Court approved the nunc pro tunc retention of Togut, Segal & Segal

LLP (“TSS”) as the TSE Trustee’s general bankruptcy counsel in the TSE case on April 14,

2015 (TSE Dkt. No. 88) and as general bankruptcy counsel to the CRS Trustee in the CRS

Debtors’ cases on December 21, 2015 (CRS Dkt. No. 207). The Court also has approved

the retention of certain other firms for discreet services. Because of their well-defined

roles, Jenner’s work as Special Litigation Counsel will be complementary rather than

duplicative of the services already performed, and to be performed in the future, by TSS,

other retained counsel, and other professionals as may be retained by the Trustee.

       7.     Jenner will use reasonable efforts to coordinate with the Trustee’s other

retained professionals to avoid duplication of services. Jenner has acted as special counsel

in other cases where TSS served as general bankruptcy counsel to the bankruptcy trustee,




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and the firms are well positioned to coordinate with each other and avoid any

unnecessary duplication of effort.

             Jenner’s Conflicts Checks Procedures and Disinterestedness

       8.     In connection with its proposed retention by the Trustee, Jenner undertook

to determine whether it had any conflicts or other connections that might cause it to hold

or represent an interest adverse to the Debtors’ estates with respect to the matters on

which Jenner is to be employed. The Trustee provided, at Jenner’s request, a list of entities

that may have contacts with the Debtors or be parties in interest in these chapter 11 cases,

which Jenner supplemented with a list of all creditors that filed proofs of claims in the

TSE and CRS Debtors’ cases (collectively, the “Parties in Interest”). A list of the Parties

in Interest searched by Jenner is attached as Exhibit B-2.

       9.     In the ordinary course of business, Jenner requires its professionals, before

accepting the representation of a new client or the representation of an existing client in

a new matter, to perform a conflict check. Jenner’s conflict check procedures include a

review of a database that includes every matter on which Jenner is or at one time was

retained and, in each instance, to the extent known, includes the identity of related and

adverse parties. Jenner regularly updates this database. Following those procedures, I

asked Jenner personnel to compare the names of Parties in Interest against its database

for all Jenner clients and former clients who were clients at any time in the past three

years, to research information about affiliates of the listed entities, to distribute email

inquiries to all Jenner attorneys, and to make follow-up inquiries.




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       10.    Based upon information ascertained using the foregoing procedures, Jenner

and its attorneys are not providing and will not provide any representation or advice to

any of the entities listed on the Parties in Interest list, including any who are current

clients, for any matter arising in or in connection with the TSE chapter 11 case or the CRS

Debtors chapter 11 cases, and has not provided any such services.

       11.    For disclosure purposes, Jenner identified the following Parties in Interest

that Jenner represents in matters unrelated to the Debtors or their estates:

Commonwealth Edison Co.; Synchrony Financial; Jackson Lewis LLP; BBVA Bank (New

York Branch); TD Ameritrade Holding Corp.; CRC Insurance Services, Inc.; Sterling

Capital Ltd.; Sterling Partners; JP Morgan Chase; Capital One Finance Corp.; Banco

Santander Suisse S.A.; and Bank of Montreal. Jenner also identified that it represents

affiliates of the following Parties in Interest in matters unrelated to the Debtors or their

estates: Pacific Bell; Sprint; and WM Bolthouse. In addition, one of Jenner’s partners has

been appointed as a monitor over Citibank N.A., a Party in Interest, but Jenner’s

representation in that matter is unrelated to the Debtors or their estates. None of the

clients identified in this paragraph represent more than 1% of Jenner’s annual revenue.

       12.    We have not been asked to represent the Trustee in any matters adverse to

the foregoing clients, and none of them are contemplated to be the subject of any of

Special Litigation Matters proposed to be investigated and/or prosecuted by Jenner.

Jenner cannot be adverse to any of its clients, including those identified in the foregoing

paragraph (and irrespective of the percentage of Jenner’s revenue that they represent),

absent the client’s consent. I understand that TSS, the Trustee’s general bankruptcy

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counsel, may and is willing to represent the Trustee in any matters adverse to any of these

clients.

       13.    For additional disclosure purposes, Jenner previously has been retained by

the Trustee in other chapter 11 or 7 cases; Jenner or Jenner clients have retained him, his

current employer (Duff & Phelps), his former employer (Mesirow Financial) and/or

members of those firms as expert witnesses or financial advisors in other cases; and he

currently is retained as an expert witness in a pending case where Jenner represents the

trustee of a liquidation trust. Jenner also previously was retained by Albert Togut of TSS

in a case where Mr. Togut acted as chapter 7 trustee.

       14.    Jenner’s practice encompasses the representation of many entities, some of

which may be or may become parties in interest without Jenner’s knowledge. Further,

as part of its practice Jenner represents clients in numerous matters involving other law

firms, financial advisory firms and professionals in either adverse and non-adverse roles,

some of which may represent the Debtors, creditors, or parties in interest, or themselves

be creditors or parties in interest in these chapter 11 cases, or employ persons with whom

Jenner attorneys have personal or familial relationships. Although it is not practicable

for Jenner to identify all such connections, except as otherwise disclosed herein I am

unaware of any such connections that are material, and believe that none of them would

prevent Jenner from being a “disinterested person,” as defined in section 101(14) of the

Bankruptcy Code; would involve the holding or representation of an interest adverse to

the Debtors’ respective estates; or would create a conflict of interest with respect to this

employment.

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       15.    I am not related to, and, to the best of my knowledge, no other attorney at

Jenner is related to, any United States Bankruptcy Judge for the Southern District of New

York, any of the District Judges for the Southern District of New York, the United States

Trustee for this Southern District of New York, or any employee in the Office of the

United States Trustee for this Southern District of New York. Accordingly, I submit that

Bankruptcy Rule 5002 would not prohibit employment of Jenner as special litigation

counsel with respect to the Special Litigation Matters.

       16.    Based on the foregoing, I believe that Jenner is a “disinterested person”, as

defined in section 101(14) of the Bankruptcy Code, that Jenner does not hold or represent

any interest adverse to the Debtors’ estates, and that Jenner’s partners, associates,

counsel, and special attorneys do not represent in other matters parties with any interest

adverse to the Debtors’ estates, except as otherwise specified in this Declaration.

Accordingly, I submit that Jenner is not disqualified for employment by the Trustee

under section 327 of the Bankruptcy Code to advise and represent the Trustee as special

litigation counsel with respect to the Special Litigation Matters.

       17.    To the extent that Jenner discovers any facts bearing on matters described

herein, Jenner will supplement the information contained in this Declaration.

                                 Jenner’s Compensation

       18.    Jenner intends to seek compensation for services rendered and expenses

incurred in both the TSE case and the CRS Debtors’ cases, separately, in accordance with

the Engagement Letter between Jenner and the Trustee, attached hereto as Exhibit B-1,

the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, any applicable

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orders of the Court, and except as otherwise provided for in the Application and herein,

the U.S. Trustee Guidelines (the “Fee Guidelines”).

       19.    The Trustee and Jenner have agreed to a compensation structure that is split

between an hourly rate structure (with a fee payment cap) and a variable contingency fee

structure depending (among other factors) on the stage of Jenner’s work.

       Investigation and Evaluation of Claims

       20.    In connection with the initial investigation and evaluation of potential

claims, Jenner’s fees will be based upon hours charged, recorded in tenth of an hour

increments, at Jenner’s scheduled rates which are in effect at the time the services are

performed plus expenses incurred during the investigation and evaluation of claims. The

Trustee and Jenner have agreed that the actual amount of compensation Jenner may

receive from the estates for its fees incurred related to the investigation and evaluation of

potential claims shall not exceed $750,000. Although this $750,000 cap on payment of fees

incurred related to the investigation and evaluation of potential claims applies across

both the TSE case and the CRS Debtors’ cases, Jenner will keep separate time records for

the TSE case and the CRS Debtors’ cases and submit separate fee applications in both

cases, which will be paid by the estate for whose benefit the fees were incurred. To extent

work is performed for the benefit of more than one estate, the time will be allocated in

Jenner’s fee applications.

       21.    Jenner will charge for these legal services on an hourly basis in accordance

with its ordinary and customary hourly rates in effect as of January 1, 2017. My current



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hourly rate is $1,025.00. The ranges of ordinary and customary hourly rates in effect as

of January 1, 2017 for other Jenner professionals are:

                                 Partners                                         $770 to $1250
                                 Counsel                                          $625 to $750
                                 Associates                                       $445 to $795
                                 Staff Attorneys                                  $380 to $480
                                 Discovery Attorneys                              $175
                                 Electronic Litigation Support                    $365
                                 Paralegals                                       $305 to $365
                                 Project Assistants                               $205 to $215


              22.            The charges for the attorneys who will render services to the Trustee will

be based upon actual time spent and upon the experience and expertise of the attorney

or legal assistant involved. The hourly rates set forth above are subject to periodic

adjustments (generally on January 1 of each year) to reflect economic and other

conditions.2

              23.            Jenner may also retain and use certain contract attorneys not regularly

employed by Jenner. Based on past experience, I expect hourly, non-overtime rates for

such contract attorneys to be in the range of $50 to $65, depending on market

conditions. Jenner will not charge any markup to the Trustee with respect to fees billed

                                                            
2 For example, like many similar law firms, Jenner increases the hourly billing rate of attorneys and
paraprofessionals yearly in the form of: (a) step increases historically awarded in the ordinary course on
the basis of advancing seniority and promotion and (b) periodic increases within each attorney’s and
paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the
term is used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of
Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013.
Jenner & Block has agreed to provide at least ten business days’ notice to the Debtors and the U.S. Trustee
before implementing any periodic increases and has agreed to file such notice with the Court.

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by any contract attorneys, but will seek reimbursement for actual costs only. Moreover,

any contract attorneys or non-attorneys the Trustee retains in connection with work

performed by Jenner will be subject to conflict checks and disclosures in accordance with

the requirements of the Bankruptcy Code.

       24.    The hourly rates set forth above are consistent with the rates that Jenner

charges other comparable clients for similar services, whether in or outside of chapter 11,

regardless of the location of the client or the court in which a matter is pending. The

hourly rates listed above are appropriate and not significantly different from (a) the rates

that Jenner & Block charges for other similar types of representations or (b) the rates that

other counsel of similar expertise and experience would charge to do work similar to the

work Jenner & Block will perform in these chapter 11 case.

       25.    It is Jenner’s policy to charge its clients in all areas of practice for all other

expenses incurred in connection with the client's case. The expenses charged to clients

include, among other things, telephone conference call and international call charges,

mail, express mail, and overnight delivery service charges, special or hand delivery

charges, document retrieval charges, photocopying charges, charges for mass mailings

(including envelopes and labels) provided by Jenner to outside copying services, travel

expenses, expenses for "working meals," computerized research, transcription costs, and

non-ordinary overhead expenses such as secretarial and other overtime. Jenner will

charge these expenses, to the applicable Debtors, in a manner and at rates consistent with

charges made generally to Jenner’s other clients and within the guidelines set forth in

Rule 2014-1 of the Local Rules and all amendments and supplemental standing orders of

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the Court. Jenner believes that it is more appropriate to charge these expenses to the

clients incurring them than to increase the hourly rates and spread the expenses among

all clients. Jenner does not charge clients for office supplies.

       26.    Notwithstanding the foregoing and consistent with the Local Rules, Jenner

& Block will charge no more than $0.10 per page for black-and-white photocopying and

no more than $0.50 per page for color copies. Jenner & Block does not charge its clients

for domestic facsimile transmissions or for office supplies and will not seek

reimbursement for them in these cases.

       27.    Jenner will make any requests for compensation and reimbursement of

expenses for the initial investigation and evaluation phase under sections 330 or 331 of

the Bankruptcy Code based on time recorded on an hourly basis by filing fee applications

in both the TSE case and the CRS Debtors’ cases for the specific time relates to each case.

Any compensation and reimbursement for expenses incurred that the Court allows shall

be payable as an administrative expense of the applicable estate under section 503(b) of

the Bankruptcy Code from funds on hand in the applicable Debtors’ estates, subject to

the $750,000 cap on payment of fees.




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          Contingency Fee Matters.

          28.    As claims are identified and evaluated during the course of Jenner’s

investigation, Jenner and the Trustee will determine whether they should be prosecuted

by Jenner on a contingency fee basis. For any claims the Trustee and Jenner determine

and agree should be pursued by Jenner on a contingency fee basis, the Engagement Letter

provides that Jenner will be compensated on a contingency fee basis for the prosecution

of those claims, whether or not litigation is commenced. Specifically, Jenner shall be

entitled to the compensation based upon the aggregate recoveries from Special Litigation

Matters pursued by Jenner, net of any filing fees, expert costs and other expenses related

to pursuit of such claims, as follows:

                        Recoveries From Sources Other Than Lenders

    First $15 million in net recoveries        34% of the net recoveries

    Next $85 million in net recoveries         20% of the net recoveries
    (recoveries of up to $100 million)
    Recoveries over $100 million               10% of the net recoveries




                                   Recoveries From Lenders

                                   Pre-discovery          After               After trial
                                                     commencement            commences
                                                      of MSJ Briefing
    First $10 million in         25% of net         30% of net             34% of net
    recoveries                   recoveries         recoveries             recoveries
    Next $40 million in net      15% of net         25% of net
    recoveries (recoveries of    recoveries         recoveries
    up to $50 million)



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    Next $50 million in         7.5% of net        15% of net           25% of net
    recoveries (recoveries of   recoveries         recoveries           recoveries
    up to $100 million)
    Recoveries over $100        5% of net          15% of net           20% of net
    million                     recoveries         recoveries           recoveries


         29.    The proposed Contingency Fee was the subject of extensive arms-length

negotiations between the Trustee and Jenner over the course of a number of weeks, and

Jenner’s initial proposed contingency fee eventually was adjusted downwards following

discussions with parties-in-interest. The scope of Jenner’s representation and

compensation does not include any appeals.

         30.    The Debtors’ respective estates shall be responsible for the payment of all

expert fees, maintaining and searching document databases (including all costs related

thereto), and the payment of all other expenses related to prosecution of any claims,

including expenses incurred by Jenner.

         31.    Jenner shall file requests for compensation, in both the TSE case and the

CRS Debtors’ cases, with respect to Contingency Fee matters, but does not expect to be

required to establish the elements set forth in section 330 of the Bankruptcy Code and the

Fee Guidelines applicable to matters billed on an hourly basis. Rather, Jenner

understands that the Contingency Fee is to be pre-approved under section 328(a) of the

Bankruptcy Code, and that any objection to compensation may be considered solely if

the terms and conditions of Jenner’s retention “prove to have been improvident in light

of developments not capable of being anticipated at the time of the fixing of such terms

and condition.” 11 U.S.C. § 328(a). Jenner will keep contemporaneous records in each case


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of the time expended in connection with providing such Contingency Fee services to the

Trustee, but does not intend to submit those time records as part of its compensation

application.

       Other.

       32.         No agreement or understanding exists between Jenner and any other

person, other than as permitted by Section 504 of the Bankruptcy Code, to share

compensation received for services rendered in connection with these cases, nor shall

Jenner share or agree to share compensation received for services rendered in connection

with these cases with any other person other than as permitted by Section 504 of the

Bankruptcy Code.

             33.        The following answer the questions in Section D.1 of the Guidelines

for Reviewing Applications for Compensation and Reimbursement of Expenses Filed

under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November

1, 2013:Section D.1 of the Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter

11 Cases Effective as of November 1, 2013:

       (a) Did you agree to any variations from, or alternatives to, your standard or
           customary billing arrangements for this engagement?

       Response: Yes. Jenner has agreed that it shall not be paid more than $750,000 for

its work during the claim investigation and evaluation stage of the representation.

Further, Jenner has agreed to a contingency fee arrangement for work done in connection

with the prosecution of any claims.


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       (b) Do any of the professionals included in this engagement vary their rate based
           on the geographic location of the bankruptcy case?

       Response: No.

       (c) If you represented the client in the 12 months prepetition, disclose your billing
           rates and material financial terms for the prepetition engagement, including
           any adjustments during the 12 months prepetition. If your billing rates and
           material financial terms have changed postpetition, explain the difference and
           the reasons for the difference.

        Response: Not applicable. For purposes of additional disclosure, Jenner has not

previously represented the Trustee in these cases, including during the twelve months

preceding the Debtors’ petition dates, nor has Jenner represented the Trustee in any other

case during the twelve months preceding the Debtors’ petition dates. However, Jenner

has represented him in his capacity as chapter 11 or 7 trustee in other cases in the past.

       (d) Has your client approved your prospective budget and staffing plan, and, if so,
           for what budget period?

       Response: Yes. The Trustee has approved Jenner’s budget and staffing plan,

which is reflected in the $750,000 investigation payment cap and the contingency fee

arrangement for the prosecution of claims determined and agreed that they should be

prosecuted by Jenner. I believe that the investigation fee payment cap and contingency

fee arrangement obviate the need for a more detailed budget that would be appropriate

in other cases billed on an hourly basis.




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          I declare under penalty of perjury as provided in 28 U.S.C. § 1746 that the

foregoing is true and correct according to the best of my knowledge, information and

belief.



Dated:         January 20, 2017

                                          /s/ Vincent E. Lazar
                                          Vincent E. Lazar




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                               EXHIBIT B-1

                          ENGAGEMENT LETTER
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                                EXHIBIT B-2
                       POTENTIAL PARTIES-IN-INTEREST


INTERNAL REVENUE SERVICE

FOCUS MANAGEMENT GROUP

CROWE HORWATH, LLP

JAMES FOLEY

WELLS FARGO

CORPORATE RESOURCE SERVICES

ROBERT CASSERA

TOM CASSERA

JOE CASSERA

YOLANDA CASSERA-TRIPPIEDI

MARIA CASSERA-URSINO

PETER URSINO

JOHN MESSINA

GINA RUSSO

ROBERT RIISK

ERNIE KOSSOFF

KOSSOFF & KOSSOFF CPA

BARRY KOSSOFF

REALIZATION SERVICES, INC.

TRI-STATE EMPLOYMENT SERVICE, INC.

TRI-TEL, INC.

TS EMPLOYMENT, INC.

BARRY KASOFF

LILLING & CO., LLP

AMERICAN CASUAL

AMERICAN HOME ASSURANCE CO.
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ANDERSEN TAX, LLC

ANGELA SADANG

ARIZONA DEPT. OF ECONOMIC SECURITY

ARIZONA DEPT. OF REVENUE

AUGUST SYSTEMS, INC.

BELLSOUTH TELECOMMUNICATIONS, INC.

BLACKSTONE DISCOVERY

CENTRAL OCCUPATIONAL MEDICINE PROVIDERS

CITY OF LOS ANGELES

CITY OF PHILADELPHIA

COLORADO DEPT. OF LABOR & EMPLOYMENT

COMMONWEALTH EDISON CO.

COMMONWEALTH OF MASSACHUSETTS

CONNECTICUT DEPT. OF REVENUE

COUNTY OF ORANGE

COUNTY OF SAN BERNANDINO

DC GOVERNMENT OFFICE OF TAX AND REVENUE

DEPT.OF EMPLOYMENT AND ECONOMIC DEVELOPMENT

DEPT. OF LABOR

DEPT. OF LABOR AND INDUSTRY

DEPT. OF LABOR AND INDUSTRY-UCTS

DEPT. OF THE TREASURY

DOMAIN CHANDON, INC.

DUN & BRADSTREET

EARTHLINK

FDBA ONE COMMUNICATION

EMPLOYMENT DEVELOPMENT DEPT.

FRANCHISE TAX BOARD
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FRANK VACCARO

GE CAPITAL INFORMATION TECHNOLOGY SOLUTIONS, INC.

GLORIA BLAS

GREATAMERICA FINANCIAL SERVICES CORP.

GREGORY F.X. DALY

HENRY EWEN

HUFFY CORP.

ILLINOIS BELL TELEPHONE CO.

ILLINOIS DEPT. OF EMPLOYMENT SECURITY

ILLINOIS DEPT. OF REVENUE

INDIANA DEPT. OF REVENUE

INDIANA DEPT. OF WORKFORCE DEVELOPMENT

INTEGRATED SCREENING PARTNERS

JACKSON LEWIS, P.C.

KANSAS DEPT. OF LABOR

KENTUCKY DEPT. OF REVENUE

KETTLE CUISINE, LLC

KRISTEN STEVENS

LOS ANGELES COUNTY TREASURER AND TAX COLLECTOR

LOUISIANA DEPT. OF REVENUE

LOUISIANNA WORKFORCE COMMISSION

MADISON AVE TESTING

MAKOVSKY & COMPANY, INC.

MARIA MORENO

MARY LOU IRETON

MASSACHUSETTS DEPT. OF REVENUE

MASSACHUSETTS DEPT. OF UNEMPLOYMENT ASSISTANCE

MERRILL COMMUNICATIONS, LLC
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MEYERS AND BONOMO, ESQS.

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MISSOURI DEPT. OF REVENUE

NEBRASKA DEPT. OF REVENUE

NEW JERSEY DEPT. OF LABOR

NEW MEXICO DEPT. OF WORKFORCE SOLUTIONS

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OHIO DEPARTMENT OF TAXATION

OKLAHOMA TAX COMMISSION

OREGON DEPT. OF REVENUE

ORFUS EAST LAKE, LLC

PACIFIC BELL TELEPHONE CO.

PENNSYLVANIA DEPT. OF REVENUE

PHILADELPHIA INSURANCE CO.

PITNEY BOWES GLOBAL FINANCIAL

PITNEY BOWES GLOBAL FINANCIAL SERVICES, LLC

PITNEY BOWES, INC.

PRIMESKILL STAFFING SERVICES

RHODE ISLAND DIVISION OF TAXATION

REVENUE BUILDING

RICHARD BATTINO

RIGOBERTO HERNANDEZ
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RIVERSIDE COUNTY TAX COLLECTOR

ROBERT WILLIAM REIMAN

ROSENBERG FELDMAN SMITH, LLP

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SHRED IT USA

SIGNARAMA OF HAUPPAUGE

SOUTHWESTERN BELL TELEPHONE CO.

SPRINT CORP.

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STATE OF CONNECTICUT

STATE OF FLORIDA – DEPT. OF REVENUE

STATE OF IOWA

STATE OF MAINE

STATE OF MICHIGAN DEPT. OF TREASURY

STATE OF NEVADA

STATE OF NEVADA DEPT. OF TAXATION

STATE OF NEW JERSEY

STATE OF NEW MEXICO

STATE OF NEW YORK DEPT. OF LABOR

STATE OF OREGON

STATE OF UTAH

STATE OF WISCONSIN, DWD - UI

TALBOT FAMILY REALTY TRUST

TENNESSEE DEPT. OF REVENUE

TEXAS COMPTROLLE OF PUBLIC ACCOUNTS

TEXAS COMPTROLLER OF PUBLIC ACCOUNTS

TEXAS WORKFORCE COMMISSION REGULATORY

TGF MANAGEMENT GROUP HOLDCO, INC.
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